Case 2:05-cr-80955-AC-RSW ECF No. 661, PageID.2805 Filed 06/28/07 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                   Plaintiff,                CASE NUMBER:       05-80955

v.                                           HONORABLE AVERN COHN


D-24, HAROLD WILCOX,

                   Defendant.
                                      /

           ORDER DENYING DEFENDANT’S SUPPLEMENTAL MOTION
                 FOR DISCLOSURE OF BRADY MATERIALS

      Defendant Harold Wilcox’s Supplemental Motion for Disclosures of Brady Materials

is DENIED for the reasons stated on the record June 28, 2007.

      SO ORDERED.




Dated: June 28, 2007                      s/ Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE
